Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Polk AZ, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  18444 North 25th Avenue, Suite 420                              P.O. Box 41427
                                  Phoenix, AZ 85023                                               Phoenix, AZ 85080
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  411 North 21st Place and 2148 East Polk Street
                                                                                                  Phoenix, AZ 85006
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case 2:23-bk-02396-MCW                     Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                     Desc
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                        Main Document    Page 1 of 34
Debtor    Polk AZ, LLC                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District   District of Arizona           When       9/01/21                    Case number   21-07693-EPB
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known

              Case 2:23-bk-02396-MCW                          Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                         Desc
Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                                             Main Document    Page 2 of 34
Debtor   Polk AZ, LLC                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




             Case 2:23-bk-02396-MCW                       Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                         Desc
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                         Main Document    Page 3 of 34
Debtor    Polk AZ, LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ Jean Gonzvar                                                         Jean Gonzvar
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                         Member of Triple 2, LLC, Manager of
                                 Title   Debtor




18. Signature of attorney    X   /s/ Mark J. Giunta                                                        Date April 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark J. Giunta 015079
                                 Printed name

                                 Law Office of Mark J. Giunta
                                 Firm name

                                 531 East Thomas Road
                                 Suite 200
                                 Phoenix, AZ 85012
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-307-0837                  Email address      markgiunta@giuntalaw.com

                                 015079 AZ
                                 Bar number and State




             Case 2:23-bk-02396-MCW                      Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                        Desc
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                                        Main Document    Page 4 of 34
                                   POLK AZ, LLC

                        An Arizona Limited Liability Company

                                   RESOLUTION

                 Triple 2 LLC, as Managing Member of Polk AZ, LLC,
           (“Company”), hereby adopts the following Resolution:

                  RESOLVED, that it is desirable and in the best interest of
                  the Company, its members and other interested parties, that
                  a Voluntary Petition be filed by the Company in the United
                  States Bankruptcy Court for the District of Arizona,
                  praying for relief under Chapter 11 of the Title 11 of the
                  United States Code, and it is

                  FURTHER RESOLVED, that Jean Gonzvar, as equity
                  holder of the Managing Member of the Company, be and
                  hereby is authorized on behalf of the Company to execute,
                  verify and file such Voluntary Petition, the Schedules and
                  Statement of Financial Affairs required by said Code and
                  such other papers as may be necessary or proper in such
                  Title 11 proceedings, and to take any and all action
                  necessary or proper therein, including retention of counsel,
                  accountants, investment bankers and such other
                  professional persons as may be necessary and proper, and it
                  is

                  FURTHER RESOLVED, that the Company is authorized
                  to retain Law Office of Mark J. Giunta as counsel for Polk
                  AZ, LLC.

           Dated this 14th
                      ___ day of April, 2023


                                                ________________________
                                                Jean Gonzvar, as equity
                                                holder of the Managing
                                                Member of Polk AZ, LLC




Case 2:23-bk-02396-MCW     Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51        Desc
                          Main Document    Page 5 of 34
Fill in this information to identify the case:

Debtor name         Polk AZ, LLC

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 16, 2023                  X /s/ Jean Gonzvar
                                                           Signature of individual signing on behalf of debtor

                                                            Jean Gonzvar
                                                            Printed name

                                                            Member of Triple 2, LLC, Manager of Debtor
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




         Case 2:23-bk-02396-MCW                       Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                     Desc
                                                     Main Document    Page 6 of 34
 Fill in this information to identify the case:
 Debtor name Polk AZ, LLC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                 Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 APS                                                 Unpaid Utilities                                                                                              $1,200.00
 400 North 5th Street
 Phoenix, AZ 85004
 City of Phoenix                                     Unpaid Utilities                                                                                                $550.00
 200 West
 Washington Street
 Phoenix, AZ 85003
 Engelman Berger                                     Attorneys' Fees                                                                                               $6,390.00
 PC
 2800 North Central
 Avenue, Suite 1200
 Phoenix, AZ 85004
 Jema Group LLC                                                                                                                                                $500,000.00
 18444 North 25th
 Avenue
 Suite 420
 Phoenix, AZ 85023
 Martin Sandino                                                                                                                                                  $15,000.00
 Architecture
 1500 North Sunview
 Parkway
 Gilbert, AZ 85234
 Remedy Team                                                                                                                                                       $3,500.00
 Solutions
 3101 North Central
 Avenue #183
 Phoenix, AZ 85012
 Southwest Gas                                       Unpaid Utilities                                                                                                $250.00
 Corporation
 8360 South Durango
 Drive
 Las Vegas, NV
 89193




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                Case 2:23-bk-02396-MCW                   Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                                   Desc
                                                        Main Document    Page 7 of 34
 Fill in this information to identify the case:

 Debtor name            Polk AZ, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        3,600,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    18.28

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,600,018.28


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,804,860.89


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           526,890.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,331,750.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 2:23-bk-02396-MCW                                            Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                                                    Desc
                                                                             Main Document    Page 8 of 34
Fill in this information to identify the case:

Debtor name         Polk AZ, LLC

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Wells Fargo                                       Checking                              5316                                         $18.28



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                          $18.28
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


          Case 2:23-bk-02396-MCW                      Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                           Desc
                                                     Main Document    Page 9 of 34
Debtor       Polk AZ, LLC                                                                Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 411 North 21st Place,
                  Phoenix, Arizona
                  85006 and 2148 East
                  Polk Street, Phoenix,
                  Arizona 85006

                  APN: 116-01-054-A             Fee simple                   $2,025,026.00                                           $3,600,000.00




56.       Total of Part 9.                                                                                                         $3,600,000.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
             No

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 2

          Case 2:23-bk-02396-MCW                    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                   Desc
                                                   Main Document    Page 10 of 34
Debtor        Polk AZ, LLC                                                                 Case number (If known)
              Name


             Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 3

           Case 2:23-bk-02396-MCW                    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                 Desc
                                                    Main Document    Page 11 of 34
Debtor          Polk AZ, LLC                                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $18.28

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,600,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                    $18.28        + 91b.            $3,600,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,600,018.28




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 4

           Case 2:23-bk-02396-MCW                                  Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                                 Desc
                                                                  Main Document    Page 12 of 34
Fill in this information to identify the case:

Debtor name         Polk AZ, LLC

United States Bankruptcy Court for the:           DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Haymarket Insurance Co.                      Describe debtor's property that is subject to a lien               $1,800,000.00             $3,600,000.00
      Creditor's Name                              411 North 21st Place, Phoenix, Arizona 85006
                                                   and 2148 East Polk Street, Phoenix, Arizona
                                                   85006
      222 South 15th Street
      Suite 1202S                                  APN: 116-01-054-A
      Omaha, NE 68102
      Creditor's mailing address                   Describe the lien
                                                   Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      08/29/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Haymarket Insurance Co.
      2. Maricopa County
      Treasurer
      3. Maricopa County
      Treasurer

2.2   Maricopa County Treasurer                    Describe debtor's property that is subject to a lien                     $3,094.33           $3,600,000.00
      Creditor's Name                              411 North 21st Place, Phoenix, Arizona 85006
                                                   and 2148 East Polk Street, Phoenix, Arizona
                                                   85006
      301 West Jefferson Street,
      Suite 100                                    APN: 116-01-054-A
      Phoenix, AZ 85003
      Creditor's mailing address                   Describe the lien
                                                   Property Taxes
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2


          Case 2:23-bk-02396-MCW                             Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                         Desc
                                                            Main Document    Page 13 of 34
Debtor       Polk AZ, LLC                                                                          Case number (if known)
             Name

                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       054A
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

2.3    Maricopa County Treasurer                   Describe debtor's property that is subject to a lien                       $1,766.56         $3,600,000.00
       Creditor's Name                             411 North 21st Place, Phoenix, Arizona 85006
                                                   and 2148 East Polk Street, Phoenix, Arizona
                                                   85006
       301 West Jefferson Street,
       Suite 100                                   APN: 116-01-054-A
       Phoenix, AZ 85003
       Creditor's mailing address                  Describe the lien
                                                   Property Taxes
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       049A
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

                                                                                                                            $1,804,860.8
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       9

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2


           Case 2:23-bk-02396-MCW                           Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                          Desc
                                                           Main Document    Page 14 of 34
Fill in this information to identify the case:

Debtor name        Polk AZ, LLC

United States Bankruptcy Court for the:         DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,200.00
          APS                                                                  Contingent
          400 North 5th Street                                                 Unliquidated
          Phoenix, AZ 85004                                                    Disputed
          Date(s) debt was incurred   03/2023                               Basis for the claim:    Unpaid Utilities
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $550.00
          City of Phoenix                                                      Contingent
          200 West Washington Street                                           Unliquidated
          Phoenix, AZ 85003                                                    Disputed
          Date(s) debt was incurred 03/2023
                                                                            Basis for the claim:    Unpaid Utilities
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,390.00
          Engelman Berger PC                                                   Contingent
          2800 North Central Avenue, Suite 1200                                Unliquidated
          Phoenix, AZ 85004                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Attorneys' Fees
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $500,000.00
          Jema Group LLC                                                       Contingent
          18444 North 25th Avenue                                              Unliquidated
          Suite 420                                                            Disputed
          Phoenix, AZ 85023
                                                                            Basis for the claim:
          Date(s) debt was incurred 08/2019
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
                                                                                                          37050
           Case 2:23-bk-02396-MCW                          Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                                  Desc
                                                          Main Document    Page 15 of 34
Debtor       Polk AZ, LLC                                                                           Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Keyglee Holdings Inc.                                                Contingent
          350 West Washington Street                                           Unliquidated
          Suite 225                                                            Disputed
          Tempe, AZ 85281
                                                                           Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $15,000.00
          Martin Sandino Architecture                                          Contingent
          1500 North Sunview Parkway                                           Unliquidated
          Gilbert, AZ 85234                                                    Disputed
          Date(s) debt was incurred 11/2022
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,500.00
          Remedy Team Solutions                                                Contingent
          3101 North Central Avenue #183                                       Unliquidated
          Phoenix, AZ 85012                                                    Disputed
          Date(s) debt was incurred 01/2023
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $250.00
          Southwest Gas Corporation                                            Contingent
          8360 South Durango Drive                                             Unliquidated
          Las Vegas, NV 89193                                                  Disputed
          Date(s) debt was incurred 03/2023
                                                                           Basis for the claim:    Unpaid Utilities
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       526,890.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          526,890.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2



           Case 2:23-bk-02396-MCW                         Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                                  Desc
                                                         Main Document    Page 16 of 34
Fill in this information to identify the case:

Debtor name       Polk AZ, LLC

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Rental Agreement @
           lease is for and the nature of        $1200/month
           the debtor's interest

               State the term remaining          8/1/22-7/31/23
                                                                                    Antonio Valdez
           List the contract number of any                                          2148 E Polk Street #2
                 government contract                                                Phoenix, AZ 85006


2.2.       State what the contract or            Rental Agreement @
           lease is for and the nature of        $1330/month
           the debtor's interest

               State the term remaining          12/1/22-11/30/23
                                                                                    Cecilia Benavidez
           List the contract number of any                                          2126 E Polk Street #14
                 government contract                                                Phoenix, AZ 85006


2.3.       State what the contract or            Rental Agreement @
           lease is for and the nature of        $1485/month
           the debtor's interest

               State the term remaining          1/23/23-12/31/23
                                                                                    Eva Elleson
           List the contract number of any                                          2126 E Polk Street #12
                 government contract                                                Phoenix, AZ 85006


2.4.       State what the contract or            Rental Agreement @
           lease is for and the nature of        $1200/month
           the debtor's interest

               State the term remaining          9/1/22-8/21/23
                                                                                    Jose Avila Ibarra
           List the contract number of any                                          2148 E Polk Street #3
                 government contract                                                Phoenix, AZ 85006




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2


         Case 2:23-bk-02396-MCW                       Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                        Desc
                                                     Main Document    Page 17 of 34
Debtor 1 Polk AZ, LLC                                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Rental Agreement @
          lease is for and the nature of    $1485/month
          the debtor's interest

             State the term remaining       12/1/22-11/30/23
                                                                        Jose Rivero
          List the contract number of any                               2148 E Polk Street #4
                government contract                                     Phoenix, AZ 85006


2.6.      State what the contract or        Rental Agreement @
          lease is for and the nature of    $1100/month
          the debtor's interest

             State the term remaining       7/1/22-6/30/23
                                                                        Lauren Rothschild
          List the contract number of any                               2148 E Polk Street #1
                government contract                                     Phoenix, AZ 85006


2.7.      State what the contract or        Property Management
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       5/1/2022-4/30/23            Real Impressions Realty
                                                                        18444 North 25th Avenue
          List the contract number of any                               Suite 420
                government contract                                     Phoenix, AZ 85023


2.8.      State what the contract or        Rental Agreement @
          lease is for and the nature of    $1780/month
          the debtor's interest

             State the term remaining       1/23/23-12/31/23
                                                                        Yolanda McCullough
          List the contract number of any                               2126 E Polk Street #15
                government contract                                     Phoenix, AZ 85006




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2


         Case 2:23-bk-02396-MCW                Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                        Desc
                                              Main Document    Page 18 of 34
Fill in this information to identify the case:

Debtor name      Polk AZ, LLC

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jean Gonzvar                                                                          Haymarket Insurance                D   2.1
                                                                                                Co.                                E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1

         Case 2:23-bk-02396-MCW                    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                       Desc
                                                  Main Document    Page 19 of 34
Polk Income Statement
May 22 to Apr 23
                                     May 22   Jun 22    Jul 22    Aug 22    Sep 22    Oct 22   Nov 22    Dec 22    Jan 23    Feb 23    Mar 23   Apr 23   YTD       T12
Total Income                          6,185     6,694     6,694     7,125     7,125    7,568     7,568     9,580     6,088    15,146    9,735    9,539   40,508   99,047

Expense
   Management Fee                       309      335       335        356      356       378       378      479       304       757       487      477    2,025    4,952
   Insurance                          1,175    1,175     1,175      1,175    1,175     1,175     1,175    1,175     1,175     1,175     1,175    1,175    4,700   14,100
   Landscape                            400      400       400        400      400       400       400      400       400       400       400      400    1,600    4,800
   Maintenance & Repair                   -        -         -          -        -         -         -        -         -         -         -        -        -        -
   Fence                                219      219       219        219      219       219       219      219       219       219       219      219      876    2,629
   Property Taxes - 411 N 21st Pl       150      150       150        150      150       150       150      150       150       150       150      150      600    1,800
   Property Taxes - 2148 E Polk St      260      260       260        260      260       260       260      260       260       260       260      260    1,040    3,120
   Utilities- Electric-2126             167      232       243        266      263       243       199      210       129       154       135      156      574    2,397
   Utilities- Electric-2148             203      264       298        301      287       286       233      247       169       121       224      189      703    2,822
   Utilities- Gas 2126                  101       65        72         68       82       145       199      201        82        99       101       88      370    1,303
   Utilities- Gas 2148                  210      132        98         75       99       156       273      266        64        75        81       69      289    1,598
   Utilities-Trash                      262      262       262        262      262       262       262      262       262       262       262      262    1,049    3,147
   Utilities- Water & Sewer             434      465       488        497      453       481       411      402       267       252       244      456    1,219    4,850
Total Expense                         3,891    3,959     4,000      4,030    4,007     4,156     4,160    4,271     3,482     3,924     3,738    3,901   15,045   47,518
Net Ordinary Income                   2,294    2,735     2,694      3,095    3,118     3,412     3,408    5,309     2,606    11,222     5,997    5,638   25,463   51,529




                              Case 2:23-bk-02396-MCW                Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                          Desc
                                                                   Main Document    Page 20 of 34
                                         Apr 14, 23
Ordinary Income/Expense
Income
   Income                                      9,539
   Refunds                                            -
Total Income                                   9,539

Expense
   Management Fee                                477
   Insurance - Property & Liability            1,175
   Property Taxes - 411 N 21st Pl                150
   Property Taxes - 2148 E Polk St               260
   Maintenance                                   219
   Other - Tenant Deposits                         -
      Utilities- Electric-2126                   210
      Utilities- Electric-2148                   247
      Utilities- Gas 2126                        201
      Utilities- Gas 2148                        266
      Utilities-Trash                            262
      Utilities- Water & Sewer                   402
Total Expenses                                 3,869
Net Ordinary Income                            5,670

Other Income/Expense
   Loan Interest                             (15,000)
   Depreciation                                    -
Total Other Income/Expense                   (15,000)
Net Income                                    (9,330)


BALANCE SHEET

Assets
   Cash                                          10
   Accounts Receivable                            -
   Buildings & Depreciable Assets         2,200,000
   Accumulated Depreciation                (101,305)
   Land                                           -
Total Assets                              2,098,705

Liabilities & Equity
   Accounts Payable                               -
   Loans from Affiliates                    510,000
   Tenant Security Deposits                   1,400
   Long Term Payables                     1,800,000
   Equity                                  (212,695)
Total Liabilities & Equity                2,098,705

    Case 2:23-bk-02396-MCW             Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51   Desc
                                      Main Document    Page 21 of 34
Fill in this information to identify the case:

Debtor name         Polk AZ, LLC

United States Bankruptcy Court for the:    DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $30,587.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                 $85,027.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                                 $78,860.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1


           Case 2:23-bk-02396-MCW                    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                        Desc
                                                    Main Document    Page 22 of 34
Debtor       Polk AZ, LLC                                                                       Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Haymarket Insurance Co.                               1/4/23;                         $310,000.00                Secured debt
             222 South 15th Street                                 1/11/23;                                                   Unsecured loan repayments
             Suite 1202S                                           1/18/23;
                                                                                                                              Suppliers or vendors
             Omaha, NE 68102                                       1/27/23;
                                                                                                                              Services
                                                                   2/6/23;
                                                                   2/17/23;                                                Other Forbearance
                                                                   2/24/23;                                              payments
                                                                   3/3/23;
                                                                   3/20/23;
                                                                   3/27/23;
                                                                   4/3/23

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2


           Case 2:23-bk-02396-MCW                     Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                            Desc
                                                     Main Document    Page 23 of 34
Debtor        Polk AZ, LLC                                                                       Case number (if known)




          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Fire inside one building affecting              $180,000.00                                                April 2022                  $180,000.00
      five units


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                       value
               Address
      11.1.    Mark Giunta
               531 East Thomas Road
               Suite 200                                                                                              01/10/2023
               Phoenix, AZ 85012                        Retainer                                                      04/07/2023              $28,000.00

               Email or website address
               markgiunta@giuntalaw.com

               Who made the payment, if not debtor?
               Jema Group, LLC


      11.2.    Haymarket Insurance Co.
               222 South 15th Street
               Suite 1202S                                                                                            January-Ma
               Omaha, NE 68102                                                                                        rch 2023               $310,000.00

               Email or website address


               Who made the payment, if not debtor?
               Jema Group, LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3


           Case 2:23-bk-02396-MCW                    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                       Desc
                                                    Main Document    Page 24 of 34
Debtor      Polk AZ, LLC                                                                         Case number (if known)



      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was                Last balance
              Address                                  account number              instrument                  closed, sold,               before closing or
                                                                                                               moved, or                            transfer
                                                                                                               transferred

19. Safe deposit boxes
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4


           Case 2:23-bk-02396-MCW                     Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                         Desc
                                                     Main Document    Page 25 of 34
Debtor      Polk AZ, LLC                                                                         Case number (if known)



    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5


           Case 2:23-bk-02396-MCW                      Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                           Desc
                                                      Main Document    Page 26 of 34
Debtor      Polk AZ, LLC                                                                        Case number (if known)



      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Engelman Berger, P.C.                                                                                              September
                    2800 North Central Avenue                                                                                          2021-April 2022
                    Suite 1200
                    Phoenix, AZ 85004

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Triple 2, LLC                           PO Box 41427                                        Member/Manager                                92.5%
                                              Phoenix, AZ 85080


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6


           Case 2:23-bk-02396-MCW                     Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                             Desc
                                                     Main Document    Page 27 of 34
Debtor      Polk AZ, LLC                                                                        Case number (if known)



      Name                                   Address                                              Position and nature of any             % of interest, if
                                                                                                  interest                               any
      JMG Industries, L.L.C.                 PO Box 41548                                         Member                                 7.5%
                                             Phoenix, AZ 85080



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 16, 2023

/s/ Jean Gonzvar                                                Jean Gonzvar
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member of Triple 2, LLC, Manager of
                                     Debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7


           Case 2:23-bk-02396-MCW                     Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                      Desc
                                                     Main Document    Page 28 of 34
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Arizona
 In re       Polk AZ, LLC                                                                                     Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 16, 2023                                                           /s/ Mark J. Giunta
     Date                                                                     Mark J. Giunta 015079
                                                                              Signature of Attorney
                                                                              Law Office of Mark J. Giunta
                                                                              531 East Thomas Road
                                                                              Suite 200
                                                                              Phoenix, AZ 85012
                                                                              602-307-0837 Fax: 602-307-0838
                                                                              markgiunta@giuntalaw.com
                                                                              Name of law firm




            Case 2:23-bk-02396-MCW                       Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                    Desc
                                                        Main Document    Page 29 of 34
                                                      United States Bankruptcy Court
                                                                     District of Arizona
 In re    Polk AZ, LLC                                                                                            Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of Triple 2, LLC, Manager of Debtor of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



Date April 16, 2023                                                      Signature /s/ Jean Gonzvar
                                                                                        Jean Gonzvar

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



         Case 2:23-bk-02396-MCW                        Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                                               Desc
                                                      Main Document    Page 30 of 34
                                              United States Bankruptcy Court
                                                          District of Arizona
 In re   Polk AZ, LLC                                                                           Case No.
                                                                   Debtor(s)                    Chapter     11

                                                                                               Check if this is an
                                                                                            Amended/Supplemental Mailing List
                                                                                            (Include only newly added or
                                                                                            changed creditors.)


                                           MAILING LIST DECLARATION


         I, the Member of Triple 2, LLC, Manager of Debtor of the corporation named as the debtor in this case, do hereby certify,

under penalty of perjury, that the Master Mailing List, consisting of   2   sheet(s), is complete, correct and consistent with the

debtor(s)' Schedules.




Date:    April 16, 2023                                /s/ Jean Gonzvar
                                                       Jean Gonzvar/Member of Triple 2, LLC, Manager of Debtor
                                                       Signer/Title

Date: April 16, 2023                                   /s/ Mark J. Giunta
                                                       Signature of Attorney
                                                       Mark J. Giunta 015079
                                                       Law Office of Mark J. Giunta
                                                       531 East Thomas Road
                                                       Suite 200
                                                       Phoenix, AZ 85012
                                                       602-307-0837 Fax: 602-307-0838




MML_Requirements_8-2018                                                                                                              MML-3




         Case 2:23-bk-02396-MCW                Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                              Desc
                                              Main Document    Page 31 of 34
Polk AZ, LLC -


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ANTONIO VALDEZ
2148 E POLK STREET #2
PHOENIX AZ 85006


APS
400 NORTH 5TH STREET
PHOENIX AZ 85004


CECILIA BENAVIDEZ
2126 E POLK STREET #14
PHOENIX AZ 85006


CITY OF PHOENIX
200 WEST WASHINGTON STREET
PHOENIX AZ 85003


ENGELMAN BERGER PC
2800 NORTH CENTRAL AVENUE, SUITE 1200
PHOENIX AZ 85004


EVA ELLESON
2126 E POLK STREET #12
PHOENIX AZ 85006


HAYMARKET INSURANCE CO.
222 SOUTH 15TH STREET
SUITE 1202S
OMAHA NE 68102


JEAN GONZVAR



JEMA GROUP LLC
18444 NORTH 25TH AVENUE
SUITE 420
PHOENIX AZ 85023


JOSE AVILA IBARRA
2148 E POLK STREET #3
PHOENIX AZ 85006


JOSE RIVERO
2148 E POLK STREET #4
PHOENIX AZ 85006


        Case 2:23-bk-02396-MCW    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51   Desc
                                 Main Document    Page 32 of 34
Polk AZ, LLC -



KEYGLEE HOLDINGS INC.
350 WEST WASHINGTON STREET
SUITE 225
TEMPE AZ 85281


LAUREN ROTHSCHILD
2148 E POLK STREET #1
PHOENIX AZ 85006


MARICOPA COUNTY TREASURER
301 WEST JEFFERSON STREET, SUITE 100
PHOENIX AZ 85003


MARTIN SANDINO ARCHITECTURE
1500 NORTH SUNVIEW PARKWAY
GILBERT AZ 85234


REAL IMPRESSIONS REALTY
18444 NORTH 25TH AVENUE
SUITE 420
PHOENIX AZ 85023


REMEDY TEAM SOLUTIONS
3101 NORTH CENTRAL AVENUE #183
PHOENIX AZ 85012


SOUTHWEST GAS CORPORATION
8360 SOUTH DURANGO DRIVE
LAS VEGAS NV 89193


YOLANDA MCCULLOUGH
2126 E POLK STREET #15
PHOENIX AZ 85006




      Case 2:23-bk-02396-MCW    Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51   Desc
                               Main Document    Page 33 of 34
                                         United States Bankruptcy Court
                                                    District of Arizona
 In re   Polk AZ, LLC                                                                 Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Polk AZ, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 16, 2023                                  /s/ Mark J. Giunta
Date                                            Mark J. Giunta 015079
                                                Signature of Attorney or Litigant
                                                Counsel for Polk AZ, LLC
                                                Law Office of Mark J. Giunta
                                                531 East Thomas Road
                                                Suite 200
                                                Phoenix, AZ 85012
                                                602-307-0837 Fax:602-307-0838
                                                markgiunta@giuntalaw.com




         Case 2:23-bk-02396-MCW           Doc 1 Filed 04/16/23 Entered 04/16/23 19:59:51                      Desc
                                         Main Document    Page 34 of 34
